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5    Attorney for Defendants Lynne S. Tilsen and Anne En-Yi Wu
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8                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
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10
     ALBERT DYTCH,                                    Case No. 3:20-cv-06004-SK
11
12                         Plaintiff,                 FIRST AMENDED ANSWER OF
            vs.                                       DEFENDANTS LYNNE S. TILSEN AND
13                                                    ANNE EN-YI WU TO COMPLAINT
     ANTICA RESTAURANTS, LLC dba DOPO,
14   et al.;                                          JURY TRIAL DEMANDED
15
                           Defendants.
16
17          LYNNE S. TILSEN AND ANNE EN-YI WU (“Defendants”) jointly answer the complaint of

18   ALBERT DYTCH (“Plaintiff”) as follows:

19          Defendants generally and specifically deny any allegations of the Complaint not specifically

20   admitted herein.

21                                               SUMMARY

22          1.     Defendants contend that Paragraph 1 of the Complaint contains conclusions of law and

23   not averments of fact to which an answer may be required, but insofar as an answer may be deemed

24   required, Defendants generally and specifically deny each and every allegation contained therein.

25          2.     Defendants contend that Paragraph 2 of the Complaint contains conclusions of law and

26   not averments of fact to which an answer may be required, but insofar as an answer may be deemed

27   required, Defendants generally and specifically deny each and every allegation contained therein.

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1                                                JURISDICTION
2            3.      Defendants deny the allegations in Paragraph 3 of the Complaint.
3            4.      Defendants deny the allegations in Paragraph 4 of the Complaint.
4            5.      Defendants deny the allegations in Paragraph 5 of the Complaint.
5                                                      VENUE
6            6.      Defendants admit the allegations in Paragraph 6 of the Complaint.
7                                                    PARTIES
8            7.      Defendants admit the allegations in Paragraph 7 of the Complaint.
9            8.      Defendants are without knowledge or information sufficient to admit or deny the facts
10   in Paragraph 8 of the Complaint.
11                                         FACTUAL ALLEGATIONS
12           9.      Defendants deny the allegations in Paragraph 9 of the Complaint. The Dopo Restaurant
13   is permanently closed to the public and no longer a functioning business.
14           10.     Defendants are without knowledge or information sufficient to admit or deny the facts
15   in Paragraph 10 of the Complaint.
16           11.     Defendants deny the allegations in Paragraph 11 of the Complaint.
17           12.     Defendants deny the allegations in Paragraph 12 of the Complaint. Defendants are
18   informed and believe, and on that basis allege, that if Plaintiff actually visited the subject location,
19   Plaintiff did so for the sole purpose of establishing the pretext to file this lawsuit.
20           13.     Defendants deny the allegations in Paragraph 13 of the Complaint.
21           14.     Defendants are without knowledge or information sufficient to admit or deny the facts
22   in Paragraph 14 of the Complaint.
23           15.     Defendants deny the allegations in Paragraph 15 of the Complaint. Defendants are
24   informed and believe, and on that basis allege, that if Plaintiff actually visited the subject location,
25   Plaintiff did so for the sole purpose of establishing the pretext to file this lawsuit.
26                                                FIRST CLAIM
27           16.     Answering Paragraph 16 of the Complaint, Defendants incorporate by reference their
28   responses contained in all prior paragraphs of this answer, as though fully restated herein.
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1           17.    Defendants contend that Paragraph 17 of the Complaint contains conclusions of law and
2    not averments of fact to which an answer may be required, but insofar as an answer may be deemed
3    required, Defendant generally and specifically deny each and every allegation contained therein.
4           18.    Defendants deny the allegations in Paragraph 18 of the Complaint.
5           19.    Defendants contend that Paragraph 19 of the Complaint contains conclusions of law and
6    not averments of fact to which an answer may be required, but insofar as an answer may be deemed
7    required, Defendant generally and specifically deny each and every allegation contained therein.
8           20.    Defendants contend that Paragraph 20 of the Complaint contains conclusions of law and
9    not averments of fact to which an answer may be required, but insofar as an answer may be deemed
10   required, Defendant generally and specifically deny each and every allegation contained therein.
11          21.    Defendants deny the allegations in Paragraph 21 of the Complaint.
12          22.    Defendants deny the allegations in Paragraph 22 of the Complaint.
13          23.    Defendants are without knowledge or information sufficient to admit or deny the facts
14   in Paragraph 23 of the Complaint.
15          24.    Defendants contend that Paragraph 24 of the Complaint contains conclusions of law and
16   not averments of fact to which an answer may be required, but insofar as an answer may be deemed
17   required, Defendant generally and specifically deny each and every allegation contained therein.
18          25.    Defendants deny the allegations in Paragraph 25 of the Complaint.
19          26.    Defendants are without knowledge or information sufficient to admit or deny the facts
20   in Paragraph 26 of the Complaint.
21          27.    Defendants contend that Paragraph 27 of the Complaint contains conclusions of law and
22   not averments of fact to which an answer may be required, but insofar as an answer may be deemed
23   required, Defendant generally and specifically deny each and every allegation contained therein.
24          28.    Defendants deny the allegations in Paragraph 28 of the Complaint.
25          29.    Defendants contend that Paragraph 29 of the Complaint contains conclusions of law and
26   not averments of fact to which an answer may be required, but insofar as an answer may be deemed
27   required, Defendant generally and specifically deny each and every allegation contained therein.
28          30.    Defendants deny the allegations in Paragraph 30 of the Complaint.
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1           31.     Defendants deny the allegations in Paragraph 31 of the Complaint.
2           32.     Defendants deny the allegations in Paragraph 32 of the Complaint.
3           33.     Defendants deny the allegations in Paragraph 33 of the Complaint.
4                                              SECOND CLAIM
5           34.     Answering Paragraph 34 of the Complaint, Defendants incorporate by reference their
6    responses contained in all prior paragraphs of this answer, as though fully restated herein.
7           35.     Defendants contend that Paragraph 35 of the Complaint contains conclusions of law and
8    not averments of fact to which an answer may be required, but insofar as an answer may be deemed
9    required, Defendant generally and specifically deny each and every allegation contained therein.
10          36.     Defendants contend that Paragraph 36 of the Complaint contains conclusions of law and
11   not averments of fact to which an answer may be required, but insofar as an answer may be deemed
12   required, Defendant generally and specifically deny each and every allegation contained therein.
13          37.     Defendants contend that Paragraph 37 of the Complaint contains conclusions of law and
14   not averments of fact to which an answer may be required, but insofar as an answer may be deemed
15   required, Defendant generally and specifically deny each and every allegation contained therein.
16          38.     Defendants deny the allegations in Paragraph 38 of the Complaint.
17          39.     Defendants deny the allegations in Paragraph 39 of the Complaint.
18          40.     Defendants deny the allegations in Paragraph 40 of the Complaint.
19          41.     Defendants deny the allegations in Paragraph 41 of the Complaint.
20                                              THIRD CLAIM
21          42.     Answering Paragraph 42 of the Complaint, Defendants incorporate by reference their
22   responses contained in all prior paragraphs of this answer, as though fully restated herein.
23          43.     Defendants contend that Paragraph 43 of the Complaint contains conclusions of law and
24   not averments of fact to which an answer may be required, but insofar as an answer may be deemed
25   required, Defendant generally and specifically deny each and every allegation contained therein.
26          44.     Defendants contend that Paragraph 44 of the Complaint contains conclusions of law and
27   not averments of fact to which an answer may be required, but insofar as an answer may be deemed
28   required, Defendant generally and specifically deny each and every allegation contained therein.
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1           45.     Defendants are without knowledge or information sufficient to admit or deny the facts
2    in Paragraph 45 of the Complaint.
3           46.     Defendants deny the allegations in Paragraph 46 of the Complaint.
4                                        AFFIRMATIVE DEFENSES
5           Defendants allege the following affirmative defenses to Plaintiff’s Complaint:
6                                     FIRST AFFIRMATIVE DEFENSE
7           Defendants contend that any statutory penalties sought by Plaintiff under California law are not
8    available and/or subject to a statutory reduction pursuant to California Civil Code section 55.56.
9                                   SECOND AFFIRMATIVE DEFENSE
10          Defendants contend that Plaintiff faces no threat of future irreparable harm because: 1) Plaintiff
11   has no genuine intent to actually return to the property and 2) the Dopo Restaurant is permanently
12   closed and no longer open to the public; therefore, injunctive relief is not available.
13                                   THIRD AFFIRMATIVE DEFENSE
14          Defendants contend that Plaintiff did not actually encounter any barrier to access that
15   unreasonably interfered with Plaintiff’s use and enjoyment of the property.
16                                  FOURTH AFFIRMATIVE DEFENSE
17          Defendants contend that it is not readily achievable to remove the barriers Plaintiff complains
18   of in the Complaint.
19                                                   PRAYER
20          WHEREFORE, Defendants pray for judgment as follows:
21          1.      Plaintiff’s action be dismissed in its entirety;
22          2.      Plaintiff’s claim for injunctive relief be denied;
23          3.      Plaintiff takes nothing by way of the Complaint;
24          4.      Defendants be awarded their cost of suit, including reasonable attorney’s fees; and
25          5.      For other such relief as the Court deems just and proper.
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27   //
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                                            FIRST AMENDED ANSWER
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1    Dated: October 7, 2020                               Law Office of Rick Morin, PC
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3                                                         _________________________
                                                          By: Richard Morin
4                                                         Attorney for Defendants Lynne S. Tilsen
                                                          and Anne En-Yi Wu
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6
                                DEMAND FOR JURY TRIAL
7
     Defendants hereby demand a jury trial for all claims for which a jury is permitted.
8
     Dated: October 7, 2020                               Law Office of Rick Morin, PC
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10
                                                          _________________________
11                                                        By: Richard Morin
                                                          Attorney for Defendants Lynne S. Tilsen
12                                                        and Anne En-Yi Wu
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